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                       IN THE UNITED STATES DISTRICT COURT                              :   !::




                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                             20190C121           AN 9:L47

J.E.B., INDIVIDUALLY AND AS NEXT
FRIEND TO F.C.B.,
                     PLAINTIFF,

V.

CLAY DEAN HILL, OWNER OF SHILOH
TREATMENT CENTER, D/B/A SHILOH                            CAUSE NO. 1:19-CV-444-LY
TREATMENT CENTER; SHILOH
TREATMENT CENTER, INC., JUAN J.
SANCHEZ, FORMER CEO AND
CONTROLLING INDIVIDUAL IN THE SWK
ENTITIES; SOUTHWEST KEY PROGRAMS,
INC., D/B/A SOUTHWEST KEY,
                   DEFENDANTS.

                                    FINAL JUDGMENT

       Before the court is the above-styled and numbered cause.        On this date, the court

rendered an order dismissing this cause with prejudice. As nothing remains to resolve, the court

renders the following Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS FURTHER ORDERED that the case is hereby CLOSED.

       SIGNED this                day of October, 2019.




                                               ITED STAT S DISTRICT JUDGE
